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Attorneys for Plaintiff
UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,               )   CR. NO. 17-00101 LEK
                                        )
          Plaintiff,                    )   UNITED STATES’S MOTION TO
                                        )   EXTEND THE DEADLINE TO
    vs.                                 )   RESPOND TO DEFENDANT’S FIFTH
                                        )   MOTION FOR ORDER TO SHOW
ANTHONY T. WILLIAMS,                    )   CAUSE AND REQUEST FOR
                                        )   EXPEDITED HEARING; CERTIFICATE
          Defendant.                    )   OF SERVICE
                                        )

           UNITED STATES’S MOTION TO EXTEND THE
   DEADLINE TO RESPOND TO DEFENDANT’S FIFTH MOTION FOR
  ORDER TO SHOW CAUSE AND REQUEST FOR EXPEDITED HEARING

      Pursuant to Rule 12(c)(2) of the Federal Rules of Criminal Procedure, the

government respectfully submits this motion to extend the deadline to respond to
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Defendant Anthony T. Williams’s (Defendant) “Fifth Motion for Order to Show

Cause and Request for Expedited Hearing (“Def. 5th OSC Motion”). Defendant

filed his motion on August 28, 2018. ECF No. 307. The Court has set the deadline

for the government’s response on September 14, 2018, with a reply due from

Defendant on October 1, 2018. ECF No. 308. The government requests an

extension of 14 days, to and including September 28, 2018, to respond to

Defendant’s motion. This is the government’s first request for an extension of this

deadline. Defendant is representing himself pro se; counsel for the government

has not met-and-conferred with Defendant regarding this request.

      Good cause supports this request. Defendant’s 5th OSC Motion seeks an

order from this Court to the Bureau of Prisons (BOP) “to allow him to be able to

keep the 50,000 plus documents of discovery in this case in his cell.” Def. 5th

OSC Mot. 1. As with many of Defendant’s previous demands to this Court, the

instant motion necessarily implicates the legitimate security needs and resource

constraints of the Federal Detention Center where Defendant is housed, as well as

its procedures. United States v. Robinson, 913 F.2d 712, 717 (9th Cir. 1990), cert.

denied, 498 U.S. 1104 (1991). Accordingly, counsel for the government must

confer with the BOP and an appropriate BOP witness to coordinate the

government’s response. However, counsel for the BOP, Timothy Rodrigues, has

been out of the office during the week of September 10, 2018, and is not scheduled


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to return to the office until September 17, 2018, after the deadline for response to

Defendant’s 5th OSC Motion.

      Accordingly, the government seeks a brief continuance of fourteen days,

from September 14 to September 28, 2018, to provide the government with time to

confer with BOP counsel Rodrigues and the appropriate official at FDC, Honolulu

regarding the government’s response to Defendant’s 5th OSC Motion.

                                  CONCLUSION

      In light of the foregoing, the government respectfully requests an extension

of time of 14 days, to and including September 28, 2018, to respond to the

Defendant’s 5th OSC Motion.

             DATED: September 14, 2018, at Honolulu, Hawaii.

                                               KENJI M. PRICE
                                               United States Attorney
                                               District of Hawaii


                                               By /s/ Gregg Paris Yates
                                                 GREGG PARIS YATES
                                                 Assistant U.S. Attorney




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                          CERTIFICATE OF SERVICE

             I hereby certify that, on the dates and by the methods of service noted

below, a true and correct copy of the foregoing was served on the following by the

method indicated on the date of filing:

Served Electronically through CM/ECF:

      Lars Isaacson, Esq.
      hawaii.defender@earthlink.net

      Attorney for Defendant
      ANTHONY T. WILLIAMS

Served by First Class Mail:

      Anthony T. Williams
      Register No. 05963-122
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      FDC Honolulu
      PO Box 30080
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             DATED: September 14, 2018, at Honolulu, Hawaii.


                                             /s/ Gregg Paris Yates
                                             U.S. Attorney’s Office
                                             District of Hawaii
